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 4
                           UNITED STATES DISTRICT COURT
 5                        EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,               )     No. CR-08-137-WFN-33
 7                                           )
                  Plaintiff,                 )     ORDER GRANTING UNOPPOSED
 8                                           )     MOTION AND MODIFYING
     v.                                      )     CONDITIONS OF RELEASE
 9                                           )
     CHARLES BRIAN McGEE,                    )      Motion Granted
10                                           )         (Ct. Rec. 1237)
                  Defendant.                 )
11                                           )
                                             )
12                                           )

13        Before the court is the Defendant, Charles B. McGee’s unopposed

14   Motion to Modify Conditions of Release to remove the requirement of

15   electronic home monitoring. The court has considered the Motion,

16   without oral argument, and finds that there is good cause to grant

17   the requested relief.

18        IT IS ORDERED that Defendant’s Motion to Modify the Conditions of

19   Release   (Ct. Rec. 1237)     is     GRANTED.     The requirement that the

20   Defendant be on electronic home monitoring is removed.                All other

21   standard and any special conditions of the Defendant’s release shall

22   remain in full force and effect.

23        DATED May 8, 2009.

24
25                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING UNOPPOSED MOTION AND MODIFYING
     CONDITIONS OF RELEASE - 1
